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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
__________________________________________
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                                           )
GEOFFREY PESCE,                            )
                                           )
            Plaintiff,                     )
                                           )
            v.                             )  Civil Action No. 18-11972-DJC
                                          )
KEVIN F. COPPINGER, et al.,               )
                                          )
            Defendants.                   )
                                          )
__________________________________________)

                                           JUDGMENT

       Based upon the Court’s prior order allowing Plaintiff’s motion for preliminary injunction,

D. 57, and prior October 27, 2020 order awarding attorneys’ fees and costs to Plaintiff, D. 78, and

now ALLOWING Defendants’ motion for entry of judgment, D. 79, and ALLOWING Plaintiff’s

(unopposed) motion to enforce the order of attorneys’ fees and costs, D. 80, to the following extent:

       1.    Judgment entered for Plaintiff;

       2.    Attorneys’ fees awarded to Plaintiff in the amount of $227,601.00;

       3. Costs of $2070.00 awarded to Plaintiff;

       4. Post-judgment interest, as of October 27, 2020 through the date of payment, at the
          applicable rale of .13%;

       5. Award $2349.00 in attorneys’ fees to Plaintiff relating to the filing of D. 80; and

       6. Defendants’ payments of these fees and costs due to Plaintiff within fourteen (14) days
          of this Judgment.


       So Ordered.

                                                              /s/ Denise J. Casper
                                                              United States District Judge
